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                       UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MASSACHUSETTS

STERLING SUFFOLK RACECOURSE,
LLC,

               Plaintiff,
                                          Civil Action No. 1:18-cv-11963-PBS
      v.
                                            (Leave to file granted on 4/19/19)
WYNN RESORTS, LTD, et al.,

               Defendants.


   REPLY IN SUPPORT OF KIMMARIE SINATRA’S MOTION TO DISMISS THE
                        AMENDED COMPLAINT
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I.     INTRODUCTION

       Ms. Sinatra respectfully requests that the First Amended Complaint (the “FAC”) be

dismissed. As discussed in Ms. Sinatra’s opening brief, the FAC fails to plead particularized

facts sufficient to establish the existence of a RICO enterprise or to specify the who, what,

where, and when of Ms. Sinatra’s alleged wrongdoing.

II.    ARGUMENT

       A.      The FAC Fails to Plead an Association-in-Fact Enterprise.

       As discussed in Ms. Sinatra’s and Wynn Resorts’ opening briefs, the FAC fails to plead

an association-in-fact enterprise because it does not allege coordinated activity among the

members of the alleged enterprise, Wynn Resorts and FBT. SSR argues that the Supreme

Court’s decision in Boyle v. United States, 556 U.S. 938, 946 (2009) eliminated the need for

plaintiffs to plead any structural features of a purported association-in-fact enterprise beyond the

“minimal requirement” that it have “a purpose, relationships among those associated with the

enterprise, and longevity sufficient to permit these associates to pursue the enterprise’s purpose.”

Opp’n at 30. Plaintiff misinterprets Boyle and subsequent case law interpreting it.

       While Boyle held that RICO enterprises are not limited to formal, “businesslike entities”

with “a name, regular meetings, dues . . . or initiation ceremonies,” it reiterated – not eliminated,

as SSR implies – the rule that for an enterprise to exist, its members must operate as a

“continuing unit” in pursuit of a “common purpose.” 556 U.S. at 945, 948 (citing United States

v. Turkette, 452 U.S. 576, 583 (1981)).1 Indeed, the Court in Boyle stressed that for an enterprise


1
  Boyle addressed the adequacy of jury instructions, not the facts that a plaintiff must plead to
survive a motion to dismiss under Rule 9(b). See CIT Grp./ Equip. Fin., Inc. v. Krones, Inc., No.
CIV.A. 9-432, 2009 WL 3579037, at *8 n.10 (W.D. Pa. Sept. 16, 2009) (holding reliance on
Boyle to establish pleading requirements “misplaced” because “[t]he Boyle court addressed the
inadequacy of a jury instruction, not a pleading”); Browning v. Flexsteel Indus., Inc., 955 F.
Supp. 2d 900, 909–10 (N.D. Ind. 2013) (Boyle “provides no detailed parameters” regarding what


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to exist there must be “interpersonal relationships and a common interest” binding the members

together, and held that individuals acting “independently and without coordination” do not

constitute an enterprise. Boyle, 556 U.S. at 946, 947, n.4.2

       In Boyle, the defendants conducted dozens of bank robberies over the course of a decade,

met together before each robbery to plan the crime, and later split the proceeds of the robberies

among themselves. Id. at 941. Here, by contrast, the FAC does not allege any facts that

establish Wynn Resorts and FBT were interrelated, much less that they operated as a “continuing

unit.” Further, the sheer repetition of illegal conduct in Boyle, the proof of which supported the

jury’s finding of an enterprise (id. at 947), is entirely absent from the facts pleaded in the FAC.

       B.      Wynn MA is Not Distinct from its Corporate Parent, Wynn Resorts, Limited.

       SSR’s enterprise theory also fails because the FAC pleads facts establishing that Wynn

MA, the alleged RICO enterprise in its Second Claim for Relief, is not distinct from defendant



is necessary to prove an enterprise). Courts have significant discretion in crafting jury
instructions, “so long as the substance of the relevant point is adequately expressed.” Boyle, 556
U.S. at 946. In Boyle, the Court held that the district court adequately conveyed the substance of
an “enterprise” by instructing the jury that the government must prove “an ongoing organization
with some sort of framework, formal or informal, for carrying out its objectives[,]” and that
members must “operate[] in a coordinated manner” as “a continuing unit to achieve a common
purpose.” Id. at 942 n.1.
2
  Courts in the First Circuit applying Boyle agree. See, e.g., United States v. Ramirez-Rivera,
800 F.3d 1, 19 (1st Cir. 2015) (holding an enterprise must exist in a “coherent and cohesive
form” with an “ongoing organization operating as a continuous unit”) (internal quotations and
citation omitted); Sheet Metal Workers Local No. 20 Welfare & Benefit Fund v. CVS Pharmacy,
Inc., 305 F. Supp. 3d 337, 348 (D.R.I. 2018) (“separate, distinct and unassociated” actors “whose
actions are uncoordinated [do] not possess the requisite structure to constitute a RICO
enterprise”); Ezell v. Lexington Ins. Co., 286 F. Supp. 3d 292, 299 (D. Mass. 2017) (dismissing
complaint that did “not adequately allege cooperation, collaboration or interdependence
sufficient to state a civil RICO claim”); McDonough v. First Am. Title Ins. Co., No. 10-CV-106-
SM, 2011 WL 285685, at *5 (D.N.H. Jan. 28, 2011) (Boyle “stressed the importance of
interrelationships between or among the association’s parts”); Gov't Emps. Ins. Co. v. Analgesic
Healthcare, Inc., No. CV 16-11970-RGS, 2017 WL 1164496, at *3 (D. Mass. Mar. 28, 2017)
(“what is necessary is evidence of systematic linkage, such as overlapping leadership, structural
or financial ties, or continuing coordination”).


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Wynn Resorts, Limited. See Motion at 8. In response, SSR claims that Wynn MA is “at least as

distinct from Wynn Resorts as Don King Productions was [found to be] from Don King” in

Cedric Kushner Promotions, Ltd. v. King, 533 U.S. 158 (2001). See Opp’n at 33-36.

       SSR’s reliance on Cedric Kushner is unavailing, as that decision merely held that a

“corporate owner/employee, a natural person, is distinct from the corporation itself.” 533 U.S.

at 163 (emphasis added).3 Accordingly, decisions issued after Cedric Kushner have routinely

recognized that while “individual defendants are always distinct from corporate enterprises . . . .

corporate defendants are distinct from RICO enterprises when they are functionally separate.” In

re ClassicStar Mare Lease Litig., 727 F.3d 473, 492 (6th Cir. 2013); see also U1it4less, Inc. v.

Fedex Corp., 871 F.3d 199, 207 (2d Cir. 2017), cert. denied, 138 S. Ct. 1559 (2018) (affirming

dismissal of Section 1962(c) RICO claim where the alleged enterprise was not sufficiently

distinct from its corporate parents). Because Plaintiff’s Second Claim for Relief violates the

distinctiveness rule, it must be dismissed.

       C.      Plaintiff Fails to Plead Specific Facts Sufficient to State a RICO Claim
               Against Ms. Sinatra.

       As discussed in Ms. Sinatra’s opening brief, the FAC fails to plead facts against Ms.

Sinatra sufficient to specify the who, what, where, and when of her alleged wrongdoing, as

required by Fed. R. Civ. P. 9(b). Instead, the FAC bases Ms. Sinatra’s RICO liability on the

unsupported allegation that she knew certain owners of the Everett Site had criminal pasts and



3
  The Supreme Court clearly indicated throughout its decision that its holding was limited to
natural persons. See Cedric Kushner, 533 U.S. at 163 (explaining that the purpose of
incorporation is to create a legal entity distinct from “the natural individuals who created it, who
own it, or whom it employs”); id. at 164 (noting that Second Circuit cases involving corporate
entities “involved significantly different allegations compared with the instant case”); id. at 166
(noting that the Court's holding “says only that the corporation and its employees are not legally
identical”); id. (holding “simply” that RICO “applies when a corporate employee unlawfully
conducts the affairs of the corporation of which he is the sole owner”).


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failed to disclose such knowledge in Wynn MA’s application to the MGC. Plaintiff argues that

because Rule 9(b) allows knowledge to be alleged generally, there is no need to plead the

specific foundational facts that form the basis of Ms. Sinatra’s alleged knowledge. Opp’n at 57.

This argument plainly misinterprets the requirements of Rule 9(b).

       While Rule 9(b) allows a plaintiff to allege “[m]alice, intent, knowledge, and other

conditions of a person’s mind” generally, it does not excuse a plaintiff from pleading enough

specific facts from which knowledge might reasonably be inferred. See, e.g., Ashcroft v. Iqbal,

556 U.S. 662, 686-87 (2009) (noting that “Rule 9 merely excuses a party from pleading [states of

mind] under an elevated pleading standard”—it does not give a plaintiff “license to evade the

less rigid—though still operative—strictures of Rule 8.”). And to survive a Rule 12(b)(6) motion

to dismiss, “a complaint must contain sufficient factual matter, accepted as true, to ‘state a claim

to relief that is plausible on its face.’” Id. at 678 (quoting Bell Atl. Corp. v. Twombly, 550 U.S.

544, 570 (2007)).

       Here, the bare assertions that Ms. Sinatra must have known “at least one individual with a

criminal history was a partial owner of FBT” (FAC ¶ 81) because she was told “an individual

with a checkered past” was an owner (id.), and because “all Defendants” knew that Jamie Russo

had a “criminal record” (id. ¶¶ 114-15) do not establish that Ms. Sinatra knew an owner of the

Everett Site was a felon. Plaintiff well knows that it must allege specific facts as to Ms. Sinatra’s

knowledge. That the best it can do is argue, “she must have known,” speaks volumes about the

propriety of Ms. Sinatra being named as an individual defendant.

       The FAC additionally fails to state a claim against Ms. Sinatra for a RICO violation

because, as argued in Ms. Sinatra’s opening brief, it fails to show that Ms. Sinatra participated in

an enterprise’s affairs through a pattern of racketeering activity. In response, Plaintiff argues that




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Ms. Sinatra “affirmatively” lied to the MGC “on multiple occasions” about Wynn Resorts’

“long-running pattern of Nevada suitability violations.” Opp’n at 58. To adequately assert these

allegations, Plaintiff must plead specific facts to suggest Ms. Sinatra knew about a “long-running

pattern of Nevada suitability violations,” which the FAC plainly fails to do. What long running

pattern? When was Ms. Sinatra aware of it? Neither of these foundational questions are

answered.

          Plaintiff’s argument that Ms. Sinatra “does not even attempt to claim that numerous

predicate acts specifically alleged against her are inadequate,” Opp’n at 57, fares no better. Each

predicate act Plaintiff alleges against Ms. Sinatra depends on the presupposition that Ms. Sinatra

knew that certain owners of the Everett Site had criminal pasts or that Mr. Wynn had a pattern of

abusive sexual misconduct. As noted, the FAC does not plead either allegation with

particularized factual detail from which this Court could infer Ms. Sinatra knew either of those

things.

          Finally, in a last-ditch attempt to keep Ms. Sinatra a defendant in this action, Plaintiff

argues that she should be held liable by virtue of her role as the “designated contact for the Wynn

applicants’ license submissions.” Opp’n at 58. As Ms. Sinatra explained in her opening brief,

this argument is unavailing, because Plaintiff cannot merely “plead by position,” and the FAC

does not allege any specific facts to demonstrate how Ms. Sinatra’s role as former General

Counsel for Wynn Resorts, Limited gives rise to RICO liability.

III.      CONCLUSION

          For the aforementioned reasons, Ms. Sinatra respectfully asks the Court to dismiss the

Amended Complaint.




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Dated: April 22, 2019
                                                Respectfully submitted,

                                                KIMMARIE SINATRA

                                                By her counsel,



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                                CERTIFICATE OF SERVICE

       I, Douglas H. Meal, hereby certify that, on April 22, 2019, true and accurate copies of the

foregoing were served on counsel for all parties through ECF.



                                               /s/ Douglas H. Meal
                                               Douglas H. Meal




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